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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

In re:                                 )
                                       )
                                       )
CHEE WEI FONG                          ) Case No. 20-16813-KHT
                                       )
                  Debtor.              ) Chapter 11
                                       )  Subchapter V
___________________________________________________________________________

   STATEMENT OF DEBTOR ON DISCOVERY ISSUES IN DISPUTE REGARDING
   DEBTOR’S MOTION FOR RULE 2004 EXAMINATION AND PRODUCTION OF
  DOCUMENTS FROM EDWARD J. KLEN, STEPHEN J. KLEN, ANGRY BEAVERS
   LLC , HOLESTEIN SELF STORAGE LLC, AND GREAT WESTERN BANK AND
      MOTION FOR PROTECTIVE ORDER OF KLENS [Doc. Nos. 68, 69 and 70]
  __________________________________________________________________________
                1.      In the present case the Debtor has filed a Motion for 2004 Examination of
         Stephen J. Klen, Edward J. Klen, and a representative officer, member, or manager of
         Angry Beavers LLC and Holestein Self Storage LLC. The Debtor also will be requesting
         the production of documents from Great Western Bank (“GWB) concerning the financial
         transactions and loans between GWB and Stephen J. Klen, Edward J. Klen, Armed
         Beavers, LLC (“Armed Beavers”), Happy Beavers, LLC (“Happy Beavers”) and
         Gunsmoke LLC. A Rule 45 subpoena will be served upon GWB for the documents
         sought. The Klens have no standing to object on behalf of Great Western Bank.
                2.      The Klens filed their present Motion For Protective Orders [Doc. No. 70]
         citing Rule 26(C) of the F.R.C.P without any attempt to comply with the consultation
         requirements of Rule 26(C)(1). The motion is devoid of the Certification of Counsel
         requirement that a consultation has occurred. Indeed, the motion was filed almost
         immediately after this Court entered its order granting Debtor’s Motion. There has been no
         attempt at compliance by the moving party and the motion should be stricken and denied
         for failure to comply with Rule 26(C)(1).
                3.      The Klens’ motion itself incorrectly states that there is a pending adversary
         proceeding between this Debtor and the Klens. There is no such adversary proceeding
         pending at this time. The three LLC entities have filed an adversary proceeding against the
         Klens and others, Adversary Proceeding No. 20-01262, which is not yet at issue as a
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      Motion to Dismiss has been filed by the Klens. Moreover, the bankruptcy reference has
      been withdrawn and the adversary and the Motion to Dismiss are presently before the
      United States District Court. Absolutely no discovery has been done in that proceeding and
      it remains not yet “at issue.”
              4.       In this case, the Debtor desires to obtain production and take the Rule 2004
      exam of the second largest creditor in this case, and which the estate likely has offsets
      against the proof of claims of the Klens. The Debtor may very well have offsets that are in
      fact claims that can only be brought by adversary proceeding, but that determination has
      not yet been made. The primary purpose of a 2004 examination is to expedite the location
      of debtor’s assets and determine its liabilities. See In re Parikh, 397 B.R. 518, 526 (Bkrtcy.
      E.D.N.Y. 2008). The Debtor may use Rule 2004 in furtherance of this focus.
              5.       The Debtor has a fiduciary duty to other creditors and the estate itself to
      investigate claims and offsets and to pursue, where legally and economically viable, claims
      of the estate.
              6.       Consistent with Rule 11, counsel also has an obligation to use due diligence
      to conduct a reasonable investigation and find facts to support the claim’s objection, if one
      is to be filed, or before filing a complaint.
              7.       The Klens’ motion does not assert the request is burdensome, or
      unreasonable, instead the motion argues that the pendency of the unrelated adversary case
      stays all attempts by the Debtor in this case to use Rule 2004. This is not the law nor is it
      an appropriate remedy in this case.
              8.       Assuming the Klens are entitled to some level of protection, this Court
      should enter its protective order restricting the use of any documents produced or Rule
      2004 examinations taken to this bankruptcy proceeding only, or any contested matter or
      adversary proceeding filed by the Debtor or the Klens in this case. A similar protective
      order was crafted by the Honorable Judge McNamara in the case of In Re Fog Cap Retail
      Investors, Case No. 16-13815 TBM in a discovery dispute in that case, see Order dated
      December 16, 2016 at [Doc. No. 469]. Such an order protects the rights of both parties in
      the use of the material to be produced or examined upon.
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             WHERFORE the Debtor requests this Court to deny the Klens’ motion for
      protective order and for such further relief as is just and appropriate under these
      circumstances.

    Dated: December 29, 2020                   BUECHLER LAW OFFICE, L.L.C.

             .                                 Respectfully submitted,

                                               BUECHLER LAW OFFICE, LLC

                                               /s/ Michael J. Guyerson
                                               ______________________________
                                               Michael J. Guyerson # 11279
                                               999 18th Street, Suite 1230-S
                                               Denver, Colorado 80202
                                               Tel:720-381-0045
                                               Fax: 720-381-0382
                                               Mike@KJBlawoffice.com
                                               ATTORNEYS FOR THE DEBTOR
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                                CERTIFICATE OF SERVICE


        I hereby certify that on this 29th day of December, 2020, I served a true and correct copy
of the foregoing STATEMENT OF DEBTOR ON DISCOVERY ISSUES IN DISPUTE
REGARDING DEBTOR’S MOTION FOR RULE 2004 EXAMINATION AND
PRODUCTION OF DOCUMENTS FROM EDWARD J. KLEN, STEPHEN J. KLEN,
ANGRY BEAVERS LLC , HOLESTEIN SELF STORAGE LLC, AND GREAT WESTERN
BANK AND MOTION FOR PROTECTIVE ORDER OF KLENS [Doc. Nos. 68, 69 and 70]
on the following parties in compliance with the Federal Rules of Bankruptcy Procedure and the
Court’s Local Rules, to the following parties entitled to service:

Via U.S. Mail:

Chee Wei Fong
3751 W. 136th Avenue, Unit S2
Broomfield, CO 80023

Via CM/ECF:

Nancy D. Miller               Ingrid J. DeFranco
Michael C. Payne              Abbey Dreher
Alison Goldenberg             Joli A. Lofstedt
U.S. Trustee
David Warner



                                                    /s/ Teresa White
                                                    ___________________________________
                                                    For Buechler Law Office, L.L.C.
